                Case 1:15-cr-04086-JCH Document 65 Filed 02/13/19 Page 1 of 2
PROB 12C - (Rev. D/NM-8/2014)                                                                           1789912

                                  UNITED STATES DISTRICT COURT
                                             FOR THE
                                     DISTRICT OF NEW MEXICO

                                Petition for Revocation of Supervised Release
Name of Offender:                 John Fierro
Docket Number:                    1084 1:15CR04086 -001JCH
Assigned Judge:                   Honorable Judith C. Herrera, United States District Judge
Date of Original Sentence:        04/26/2016
Original Offense:                 18 U.S.C. 1152: Assault Resulting in Serious Bodily Injury, a Crime
                                  Occurring in Indian Country
Original Sentence:                BOP: 24 months; TSR: 3 years
Date Supervision                  12/20/2018
Recommenced:
Date Supervision Expires:         12/19/2020
Other Court Action:               11/08/2017: Term of Supervised Release revoked due to the defendant having
                                  direct or indirect contact or communication with the victim of the case. The
                                  defendant was sentenced to five months custody, followed by 28 months of
                                  supervised release.

                                  06/28/2018: Term of Supervised Release revoked due to the defendant failing
                                  to reside in a residential reentry center for a term of (up to) 6 months. The
                                  defendant was sentenced to seven months custody, followed by 24 months of
                                  supervised release.


                                       PETITIONING THE COURT

To issue a warrant. The defendant is currently in state custody.

U.S. Probation Officer of the Court, David J. Rhodes, alleges the offender has violated the following
condition(s) of supervised release.

Violation      Nature of Noncompliance
Type

MC             You must not commit another federal, state, or local crime.

               On February 12, 2019, the defendant was arrested by the San Juan County Sheriff’s Office and
               charged with Aggravated Battery Against a Household Member (misdemeanor) in violation of
               NMSA 30-03-16(A) & (B), in the Farmington Magistrate Court. This case is currently pending.

               According to the Statement of Probable Cause prepared by the San Juan County Sheriff’s Office
               on February 12, 2019, the San Juan County Sheriff’s Office responded to a report of a physical
               fight between the defendant and the victim; the defendant’s girlfriend. When the deputy arrived
               at the scene, he observed the victim holding an ice pack to the right side of her face. When she
               removed the ice pack from her face the deputy observed her right cheek to be immensely swollen
                  Case 1:15-cr-04086-JCH Document 65 Filed 02/13/19 Page 2 of 2

                and sticking out about two inches from the normal size of her cheek. The deputy asked the victim
                if her right cheek was the only injury and she stated the left side of her face was also sore, as
                well as the back side of her head. While speaking to the deputy, the victim reported she and the
                defendant began arguing, which led to the defendant punching her “a couple of times” in the
                face.

The maximum statutory penalty: 2 years imprisonment; 3 years supervised release.
The revocation range of imprisonment: 5 to 11 months.

I declare under penalty of perjury that the foregoing is true and correct.
Executed on 02/13/2019.


 Submitted:                                                  Approved:                       ‫ ܈‬Phone Approval




 David J. Rhodes                                             Jack E. Burkhead
 Senior U.S. Probation Officer                               (505) 224-1434
 505-635-7459                                                Assistant U.S. Attorney

                                                             Date: 02/13/2019




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